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IN THE DISTRICT coURT m ANI) FoR PAYNE coUNTY "'?*y omahdn°*
STATE oF ol<LAHOMA my 3 0 2016 , a
an wmw`£"' C°wzc
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BLAKE 1). JOHNSON, ) \W
)
Plainrirf, )
) P
vs. ) - '
1 ' ) Case No= (‘."l~ 90 l{_:,~- 539
JEFFREY E. MoRRIs and )
USAA I`NSURANCE AGENCY, IN(.`,‘.,l )
a.T§xas Corporation,~ ._ )“ ~_ - _ -`_`____~ _ - -
- )
Defendants. )
PETITION

COMES NQW the Plaintiff, Blake D. ]ohnson, by and through his undersigned counsel
of record, David T. Fletcher of the law offices of Coffey, Se,nger & Mchniel PLLC, and for his`

cause of action against Dcfendants, JeH`rey E. Morn`s and USAA Insurance Agency, Inc., alleges

and states as follows:

A 1. 'I'hat the complaint alleged herein occurred'within Payne County, Statc o'f Oklahoma, and

thai this Comt has jurisdiction over the parties and the subject matter herein.

2_. The Blaintiff`, Blake D. Iohnson. is an individual who resided at 213 W_ Elm Avenue,

‘*’/Q'

#133, City cf _Stillwater,.County of Payne, State of Oklahoma.
-' W/ 3. The Dcfendant, Jefi`rey'E.‘Morri's,'i`s“a'x_findi\`/iduzil 'Wh'c‘). resided at 815 E. Will Rogers,_
L)
City of Stillwater, County ofPayne, Statc of Oklahorna.

, 4.` Tnat Dcfendant, USAA Insunmcc _Agency, lnc., a '_l"e)gas Corporation, a_nd_is a f_o__r_eign
9 _ insurance company._doing business i_n the State of Oldahoma.

' ,.(/v- ‘,(` f`b¢¢" -0¢¢,¢_..»,._...
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5. On December l, 2014, at the intersection of Elm Avenue and Duck Street in the city of
\J)\v Stillwater, Payne County, State of Oklahoma, the Defendanth'eHi‘ey Morris, was headed
eastbound on Elm Avenue and while attempting to turn lett on to Duck Street, drove his
vehicle negligently and in a reckless and wanton manner striking the pedesn'ian Plaintiff,

Blake Johnson, Who was attempting to cross the street at the intersection
_6.\_As-a.direct`result of the Defendant_Morris’. actions, Blake.]ohnson_sustained.injuries to

' ’p‘ hish¢ad, lea hip, rightand lea_hands and wass.'

|_;\» 7. As a result of these injuries, Blake Johnson has incurred medical expenses, lost wages,

rt w
t* and pain both physical and mental.

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c/
WHEREFORE, Plaintiff prays for judgment against D£WMS in an amount in
excess of $'15,000.00, together with attorney fees and costs of this action and any. other relief the

Court deems just and proper. l

Respectt`ully Submitted,

 

na\?id T. Flercher, OBA #30781
CoFFEY, SF.NGER & MCDANIEL, PLLC
4725 Easc 91St street suite 100
Tulsa, OK 74137 ' '

' ' - ' ' .¢_~ '(91~8)_-292=-8787 - -
(918) 292-8788 fax
Attomey for Plaintiff

' " Dfletche;@csrnlawgr_oup:com

 

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